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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION and                      Case No. 1:17-cv-00124-LLS

THE PEOPLE OF THE STATE OF NEW
YORK, by LETITIA JAMES, Attorney
General of the State of New York,
                                                  NOTICE OF APPEARANCE
                      Plaintiffs,

                      v.

QUINCY BIOSCIENCE HOLDING
COMPANY, INC., a corporation;

QUINCY BIOSCIENCE, LLC, a limited
liability company;

PREVAGEN, INC., a corporation
d/b/a/ SUGAR RIVER SUPPLEMENTS;

QUINCY BIOSCIENCE
MANUFACTURING, LLC, a limited
liability company; and

MARK UNDERWOOD, individually and as
an officer of QUINCY BIOSCIENCE
HOLDING COMPANY, INC., QUINCY
BIOSCIENCE, LLC, and PREVAGEN,
INC.,

                      Defendants.




       Please take notice that the following attorney, who is admitted to practice in this Court,

has entered his appearance as counsel in this case for Defendants Quincy Bioscience Holding

Company Inc., Quincy Bioscience, LLC, Prevagen, Inc. d/b/a Sugar River Supplements, and

Quincy Bioscience Manufacturing, LLC:
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             Damon Suden
             Kelley Drye & Warren LLP
             3 World Trade Center
             175 Greenwich Street
             New York, New York 10007
             (212) 808-7800

Dated: September 29, 2021
New York, New York


                                         KELLEY DRYE & WARREN LLP

                                         By:    Damon Suden
                                         Damon Suden
                                         Kelley Drye & Warren LLP
                                         3 World Trade Center
                                         175 Greenwich Street
                                         New York, New York 10007
                                         (212) 808-7800
                                         dsuden@kelleydrye.com

                                         Counsel for Defendants Quincy Bioscience
                                         Holding Company Inc., Quincy Bioscience,
                                         LLC, Prevagen, Inc. d/b/a Sugar River
                                         Supplements, and Quincy Bioscience
                                         Manufacturing, LLC
